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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS
JONESBORO DIVISION

UNITED STATES OF AMERICA,

ex rel. MICHAEL TODD HIGHFILL,

and

MICHAEL TODD HIGHFILL,

FILED

DISTRICT. COURT
EASTERN DISTRICT ARKANSAS

AUG 1 ° 2000

JAMES W. McCORMACK, CLERK
By:

  
   

DEP.CLERK

Plaintiffs,
CIVIL ACTION NO. 3:99CV00161 SWW

Vv.

KELLER MEDICAL SERVICE, INC;
MARK KELLER, INDIVIDUALLY AND
DOING BUSINESS AS KELLER
MEDICAL SERVICE, INC.;
CLARENCE WOODARD, INDIVIDUALLY
AND DOING BUSINESS AS KELLER
MEDICAL SERVICE, INC.;
WADE MURRAY, RAY KEECH,
JUDY DAVIS,

and

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Defendants.

AMENDED COMPLAINT
(False Claims Act)

PRELIMINARY STATEMENT
This lawsuit is based upon an on-going scheme by Defendants
Keller Medical Service, Inc., a provider of ambulance services, and
to defraud the United States through the

its officers and owners,

Medicare program. Plaintiff Michael Todd Highfill, by the

undersigned counsel, brings this civil action on behalf of and in
the name of the United States of America under the qui tam
provisions of the federal False Claims Act, 31 U.S.C. §§ 3729-3733,

and on behalf of himself under the whistleblower protection

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provision of the False Claims Act, 31 U.S.C. § 3730(h), and
alleges:
JURISDICTION AND VENUE

1. Counts I, II, and III of this Complaint are civil actions
by Plaintiff Michael Todd Highfill, acting on behalf of and in the
name of the United States, against Defendants Keller Medical
Service, Inc., Mark Keller, Clarence Woodard, Wade Murray, Ray
Keech, and Judy Davis under the federal False Claims Act, 31 U.S.C.
§§ 3729-3733. This Court has jurisdiction pursuant to 28 U.S.C. §§
1331 and 1345, and 31 U.S.C. § 3732(a).

2. Count IV of this Complaint is a civil action by Plaintiff
Michael Todd Highfill, individually, against Defendants Keller
Medical Service, Inc., Mark Keller and Clarence Woodard under the
"whistleblower protection" provision of the federal False Claims
Act, 31 U.S.C. § 3730(h). This Court has jurisdiction pursuant to
28 U.S.C. §§ 1331 and 1345, and 31 U.S.C. § 3730(h).

3. This case raises allegations that Defendants have
defrauded the federal Medicare program through the submission of
false claims for payment for the provision of ambulance services.
Reimbursement for Medicare claims is made by the United States
through the Health Care Finance Administration (“HCFA”), an agency
within the United States Department of Health and Human Services.
HCFA, in turn, contracts with private insurance intermediaries and

carriers to administer and pay for claims from the Medicare Trust
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Fund. To that end, HCFA has contracted with Arkansas Blue Cross
and Blue Shield to administer the payment of claims to Medicare
providers in Arkansas. All Medicare claims for payment, including
the false claims for payment submitted by Keller Medical Service,
Inc., are submitted to Arkansas Blue Cross and Blue Shield which is
located at 601 Gaines Street, Little Rock, Arkansas 72203, in this
judicial district.

4. Defendants Keller Medical Service, Inc., Mark Keller,
Clarence Woodard, Wade Murray, Ray Keech, and Judy Davis all reside
and/or transact business in this judicial district. In addition,
many of the acts proscribed by 31 U.S.C. § 3729{a), such as the
submission of false claims for payment, took place in this judicial
district. This Court, therefore, has personal jurisdiction over
the Defendants and venue is appropriate in this district pursuant
to 31 U.S.C. § 3732(a) which provides that any action under 31
U.S.C. § 3730 may be brought “in any judicial district in which

. any one defendant can be found, resides, transacts business, or
in which any act proscribed by section 3729 occurred.”

5. None of the allegations set forth in this Complaint is
based on a public disclosure of allegations or transactions in a
criminal, civil, or administrative hearing, in a congressional,
administrative, or General Accounting Office report, hearing,

audit, or investigation, or from the news media.
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6. Plaintiff Michael Todd Highfill has direct and independent
knowledge, within the meaning of 31 U.S.C. § 3730(e) (4) (B), of the
information on which the allegations set forth in this Complaint
are based. Moreover, prior to any public disclosure of the
allegations or transactions on which this Complaint is based, and
prior to filing this lawsuit, Plaintiff voluntarily provided the
information set forth herein to agents of the Federal Bureau of
Investigation and the Department of Health and Human Services’

Office of the Inspector General.

PARTIES
7. Plaintiff Michael Todd Highfill ("the Relator" or
“Highfill”) is a citizen of the United States and a resident of
Searcy, Arkansas. Highfill has been a licensed paramedic for
approximately nine years. Beginning in mid-October 1998 and

continuing for two weeks thereafter, Highfill worked for Keller
Medical Service, Inc. During that time, Highfill personally
observed instances of the unlawful conduct that are described in
this Complaint. After Highfill confronted management of Keller
Medical Service, Inc., with the fact that it was engaging in
illegal activities, and after Highfill refused to falsify records
as requested by management, Keller Medical Service, Inc.,
terminated Highfill'ts employment.

8. Defendant Keller Medical Service, Inc., is the name of

the entity that employed Highfill according to Highfill’s 1998 IRS
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Form W-2 Wage and Tax Statement. That form shows this entity has
employer identification number 71-079439. However, the Arkansas
Secretary of State has no record that Keller Medical Service, Inc.,
is an Arkansas corporation or a foreign corporation registered to
do business in Arkansas. To the extent this entity exists under
this name, Highfill alleges on information and belief that Keller
Medical Service, Inc., is an Arkansas corporation with its
principal place of business in Jonesboro, Arkansas. On information
and belief, Keller Medical Service, Inc., (to the extent it may
exist) is also known as Keller Medical Service, Inc.

9. Defendant Keller Medical Service, Inc., is a privately-
owned corporation which provides ambulance services in Arkansas.
Keller Medical Service, Inc., is based in Jonesboro, and has other
offices in Lake City, Harrisburg, and Pocahontas. According to its
1999 Ambulance Service License Application, Keller MedicalService,
Inc., operates 7 ambulances, but Highfill is informed and believes
it operated approximately 12 ambulances in October 1998. Keller
Medical Service, Inc., employs approximately 25 paramedics and
approximately 25 emergency medical technicians ("EMTs").

10. Defendant Mark Keller is one of the owners of Keller
Medical Service, Inc. On information and belief Keller Medical
Service, Inc.,is a partnership, joint venture or other form of
business entity for which Mark Keller is personally liable. In the

alternative, Mark Keller is personally liable for the operations of
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Keller Medical Service, Inc., because that entity does not exist as
a corporation in Arkansas even though Mark Keller has conducted
business in that name. Upon information and belief, Mark Keller
has had knowledge of, has encouraged and/or directed, and has
benefitted from the submission of the claims described in this
Complaint, “knowing,” as the term is defined in 31 U.S.C. §
3729(b), that these claims were false.

11. Defendant Clarence Woodard is one of the owners of Keller
Medical Service, Inc. On information and belief Keller Medical
Service, Inc., is a partnership, joint venture or other form of
business entity for which Clarence Woodard is personally liable.
In the alternative, Clarence Woodard is personally liable for the
operations of Keller Medical Service, Inc., because that entity
does not exist as a corporation in Arkansas, even though Clarence
Woodard has conducted business in that name. Upon information and
belief, Clarence Woodard has had knowledge of, has encouraged
and/or directed, and has benefitted from the submission of the
claims described in this Complaint, “knowing,” as the term is
defined in 31 U.S.C. § 3729(b), that these claims were false.

12. Defendant Wade Murray is the Director of Operations and
an agent of Keller Medical Service, Inc. Upon information and
belief, Wade Murray has had knowledge of, has encouraged and/or
directed, and has benefitted from the submission of the claims

described in this Complaint, “knowing,” as the term is defined in
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31 U.S.C. § 3729(b), that these claims were false. At all times
relevant to this Complaint, Wade Murray was acting within the scope
of his agency and employment with Keller Medical Service, Inc.
13. Defendant Ray Keech is the Medicare Compliance Officer
and an agent of Keller Medical Service, Inc. Upon information and
belief, Ray Keech has had knowledge of, has encouraged and/or
directed, and has benefitted from the submission of the claims
described in this Complaint, “knowing,”as the term is defined in 31
U.S.C. § 3729(b), that these claims were false. At all times
relevant to this Complaint, Ray Keech was acting within the scope
of his agency and employment with Keller Medical Service, Inc.
14. Defendant Judy Davis was a paramedic and manager of the
Defendant Keller Medical Service, Inc. Upon information and
belief, Judy Davis has had knowledge of, has encouraged and/or
directed, and has benefitted from the submission of the claims
described in this Complaint, “knowing,”as the term is defined in 31
U.S.C. § 3729(b), that these claims were false. At all times
relevant to this Complaint, Judy Davis was acting within the scope
of her agency and employment with Keller Medical Service, Inc.
15. The United States Department of Health and Human Services
(“HHS”), acting by and through HCFA, is an agency of the United
States responsible for, among other things, administering the
Medicare program under which the providers of ambulance services

may be reimbursed with federal funds.
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MEDICARE REIMBURSEMENT FOR AMBULANCE SERVICES

 

16. Title XVIII of the Social Security Act, 42 U.S.C. §§
1395, et seq., establishes the Health Insurance for the Aged and
Disabled Program, popularly known as the Medicare program. The
Medicare program is comprised of two parts. Part A provides basic
insurance for the costs of hospitalization and post-hospitalization
care. 42 U.S.C. §§ 1395c-1395i-2 (1992). Part B is a federally
subsidized, voluntary insurance program that pays for a wide range
of medical services and supplies, such as physician services. 42
U.S.C. §§ 1395k, 13951, 1395x(s). Reimbursement for Medicare
claims is made by the United States through HCFA. HCFA, in turn,
contracts with private intermediaries and carriers to administer
and pay Part A and Part B claims from the Medicare Trust Fund. 42
U.S.C. § 1395u. In this capacity, the intermediaries and carriers
act on behalf of HCFA. 42 C.F.R. § 421.5(b).

17. Under some circumstances, Part B of the Medicare program
covers ambulance transportation. 42 C.F.R. § 410.40. However,

Medicare only reimburses beneficiaries for non-emergency ambulance

services under specific, limited conditions. 42 C.F.R. §
410.40 (b).

18. In order to be covered by Medicare, ambulance services
must be "medically necessary,” ji.e., the use of other means of

transportation would endanger the patient’s health, whether or not
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such other transportation is actually available. Medicare Carrier
Manual (“MCM”) § 2120.2(A).

19. In addition, Medicare covers ambulance services only if
they are reasonable in the treatment of the illness or injury
involved. MCM § 2120.2(B).

20. Medicare reimbursement rules specifically state that a
“beneficiary receiving maintenance dialysis on an outpatient basis
is not ordinarily ill enough to require ambulance transportation
for dialysis treatment.” MCM § 2120.3. Accordingly, Medicare
carriers are instructed: “Carefully review round trip ambulance
services to outpatient dialysis facilities on a per visit basis for
medical necessity. Deny claims for transportation to freestanding
dialysis facilities for routine maintenance dialysis treatments.”
MCM § 4115.

21. Ambulance transportation providers submit claims for
reimbursement to the Medicare program on a claim form known as a
"HCFA 1491." The HCFA 1491 requires the provider to describe,
among other things, the illness or injury that made ambulance
transportation necessary.

THE FRAUDULENT ACTIVITIES

22. Each day, Keller Medical Service, Inc., has provided
scheduled (non-emergency) medical transfers for approximately 60
patients. These medical transfers have involved transporting

patients to dialysis treatments, rehabilitation treatments, or
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regular office visits with physicians. The Relator is informed and
believes that most of these transfers have been billed to, and paid
for, by the Medicare program. The Relator is further informed and
believes, however, that most of these patients have been
ambulatory, and that the use of an ambulance to transport them has
been neither medically necessary nor reasonable in the treatment of
the patients’ illness or injury.

23. Each time a patient is transported by ambulance in
Arkansas, the paramedic is required to complete an EMS Encounter
Form, or "Run Form," which documents the ambulance run. The form
has a space for "chief complaint" in which the paramedic is
supposed to state the patient's description of his chief complaint.
Defendant Ray Keech, the Medicare Compliance Officer for Keller
Medical Service, Inc., instructed the Relator to make sure that
there was a “chief complaint” listed on every Run Form. —

24. For every scheduled patient trip, Keller Medical
Service, Inc., requires its paramedics to take a clipboard with a
sheet of paper listing various information, including the patient's
customary complaints. This is meant to instruct the paramedic on
what to state as the "chief complaint" in the Run Form.

25. The Run Form also has a space for a narrative in which
the paramedic can describe the patient's condition, i.e., whether
the patient is or is not ambulatory. Defendant Wade Murray, the

Director of Operations for Keller Medical Service, Inc., instructed

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the Relator always to write on the Run Form that the patient was
nonambulatory, and always to state that the patient was strapped to
the cot in the ambulance for transportation, regardless of what the
facts really were.

26. Upon information and belief, Keller Medical Service,
Inc., keeps CMNs, complete with the physicians' signatures, on its
computer. Upon information and belief, in order to document the
medical necessity of any particular ambulance transfer, Keller
Medical Service, Inc., would simply print a copy of the CMN and use
it as though it were an original.

27. While employed at Keller Medical Service, Inc., the
Relator was responsible for transporting several Medicare patients
for routine dialysis treatments. Most of these patients were
ambulatory. One particular patient, whom Relator transported about
12 times in two weeks, was ambulatory on every occasion: he usually
walked from his house to the ambulance or climbed off of his
tractor to walk to the ambulance. The patient information on the
clipboard stated that this patient complained of "knee pain." On
a Friday, after he had been working at Keller Medical Service,
Inc., for two weeks, the Relator had a discussion about this
patient with Defendant Ray Keech, the Medicare Compliance Officer.
During that encounter, the Relator told Mr. Keech that there was no
legitimate chief complaint that would support ambulance

transportation of this particular patient, and that he would not

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lie on the paperwork. Mr. Keech responded that the Relator had to
fill in a chief complaint on the Run Form and stated that the
Relator could always use "knee pain" as the chief complaint, since
the patient's knees sometimes hurt. The following Monday, Keller
Medical Service, Inc., terminated the Relator's employment. At
that time, Defendant Wade Murray told the Relator he was not a
“team player.”

28. Upon information and belief, Keller Medical Service,
Inc., submitted false claims to the Medicare program, which claims
were paid by the United States, for ambulance services provided to
this particular patient who purportedly had "knee pain." The
claims were based on documentation, including a HCFA 1491, which
falsely indicated that the services were medically necessary and
that the patient was being transported for some reason other than
routine dialysis, which was the true reason for the transport.

29. Upon information and belief, since it was founded in or
about 1994, Keller Medical Service, Inc., has knowingly submitted
false claims to Medicare, which claims were paid by the United
States, for numerous services provided to patients. The claims
were supported by documentation that was false in that it falsely
indicated that the services were medically necessary and reasonable
in the treatment of the patients’ illness or injury. Upon
information and belief, because of these false claims, the United

States has paid Keller Medical Service, Inc., in excess of

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($5,000,000) five million dollars to which Keller Medical Service,
Inc., was not entitled.

COUNT. I
(Federal False Claims Act - 31 U.S.C. § 3729(a) (1))

30. This is a civil action by Plaintiff Michael Todd
Highfill, acting on behalf of and in the name of the United States,
against Defendants Keller Medical Service, Inc., Mark Keller,
individually and doing business as Keller Medical Service, Inc.,
Clarence Woodard, individually and doing business as Keller Medical
Service, Inc., Wade Murray , Ray Keech, and Judy Davis under the
False Claims Act.

31. Plaintiff realleges and incorporates by reference
paragraphs 1 through 28 as though fully set forth herein.

32. The Defendants have knowingly submitted false or
fraudulent claims for payment, or caused false or fraudulent claims
for payment to be submitted, to officials of the United States
Government, in violation of 31 U.S.C. § 3729(a) (1).

33. Because of the Defendants' conduct set forth in this
Count, the United States has suffered actual damages.

COUNT IT
(Federal False Claims Act - 31 U.S.C. § 3729(a) (2))

34. This is a civil action by Plaintiff Michael Todd
Highfill, acting on behalf of and in the name of the United States,
against Defendants Keller Medical Service, Inc., Mark Keller,

individually and doing business as Keller Medical Service, Inc.,

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Clarence Woodard, individually and doing business as Keller Medical
Service, Inc., Wade Murray , Ray Keech, and Judy Davis under the
False Claims Act. |

35. Plaintiff realleges and incorporates by reference
paragraphs 1 through 28 as though fully set forth herein.

36. The Defendants have knowingly made or used, or caused to
be made or used, false records or statements to get false or
fraudulent claims paid or approved by officials of the United
States Government, in violation of 31 U.S.C. § 3729(a) (2).

37. Because of the Defendants' conduct set forth in this
Count, the United States has suffered actual damages.

COUNT IIT
(Federal False Claims Act - 31 U.S.C. § 3729(a) (3))

38. This is a civil action by Plaintiff Michael Todd
Highfill, acting on behalf of and in the name of the United States,
against Defendants Keller Medical Service, Inc., Mark Keller,
individually and doing business as Keller Medical Service, Inc.,
Clarence Woodard, individually and doing business as Keller Medical
Service, Inc., Wade Murray , Ray Keech, and Judy Davis under the
False Claims Act.

39, Plaintiff realleges and incorporates by reference
paragraphs 1 through 28 as though fully set forth herein.

40. The Defendants have conspired among themselves and/or

with others to defraud the Government by getting false or

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fraudulent claims allowed or paid, in violation of 31 U.S.C. §
3729 (a) (3).

41. Because of the Defendants' conduct set forth in this
Count, the United States has suffered actual damages.

COUNT IV
(Federal False Claims Act - 31 U.S.C. § 3730(h))

42. This is a civil action by Plaintiff Michael Todd
Highfill, individually, against Defendants Keller Medical Service,
Inc., Mark Keller, individually and doing business as Keller
Medical Service, Inc., and Clarence Woodard, individually and doing
business as Keller Medical Service, Inc., under the "whistleblower
protection" provision of the False Claims Act.

43. Plaintiff realleges and incorporates by reference
paragraphs 1 through 40 as though fully set forth herein.

44. Upon discovering the Defendants' unlawful acts described
in this Complaint, Plaintiff confronted management of Keller
Medical Service, Inc., about the unlawful nature of the Defendants'
activities, and in contravention of Defendants' instructions, he
refused to falsify documents. In so doing, Plaintiff was engaging
in lawful acts in furtherance of an action to be filed under the
False Claims Act. Because of Plaintiff's lawful acts, Keller
Medical Service, Inc., immediately terminated Plaintiff, in

violation of 31 U.S.C. § 3729(h).

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45. Because of Keller Medical Service, Inc.'s conduct set
forth in this Count, the Plaintiff has suffered actual damages,
including lost wages and other special damages.

COUNT V
(Common Law Fraud)

46. The Plaintiff incorporates all preceding paragraphs as if

fully rewritten.

47. The Medicare claims for reimbursement for transporting
ambulatory patients were misrepresentations of a material fact.
Defendants transportation of ambulatory patients was not medically
necessary, but was represented as necessary.

48. Defendants made these misrepresentations with knowledge of
their falsity or with reckless disregard for their truth and
intended for the United States to act on the misrepresentation by
paying the claims.

49. The United States, acting in reliance on Defendants’
misrepresentations, paid the fraudulent claims.

50. As a result of its payments, the United States has been

damaged in an amount to be determined at trial.

COUNT VI
(Unjust Enrichment)

51. Plaintiff incorporates all preceding paragraphs as if

fully rewritten.

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52. The United States, through the carrier and Blue Cross and
Blue Shield, paid Defendants for claims under the Medicare program
which had been submitted for services that were not medically
necessary.

53. By causing the United States to pay for Medicare claims
which were not medically necessary, Defendants were unjust enriched
to the detriment of the United States, in an amount to be
determined at trial.

COUNT VII
(Payment Under Mistake of Fact)

54. Plaintiff incorporates all preceding paragraphs as if
fully rewritten.

55. The false representations made by the Defendants
concerning the medical necessity of the claimed transportation
services were material to the determination to pay the claims for
those services under the Medicare program.

56. The United States, through the carrier, relied on the
representations of the Defendants concerning the medical necessity
of the transportation service for which reimbursement was sought.
The United States would not have paid for any claims had it known
that the services were not medically necessary.

57. The United States, relying on the Defendants’
representations regarding the medical necessity and appropriate

billing for such services, paid said claims to Defendants, thereby

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resulting in damages to the United States in an amount to be
determined at trial.

COUNT VIII
(Breach of Contract)

58. Plaintiff incorporates all preceding paragraphs as if
fully rewritten.

59. Under the Medicare program, the United States offered to
reimburse the Defendants a portion of the reasonable cost of
medically necessary services. As such, the offer constituted
an unilateral contract. The terms of such contract, including
applicable Medicare regulations, were accepted by the Defendants
each and every time they or their agents executed a medicare claim
and submitted it to the carrier, Arkansas Blue Cross and Blue
Shield.

60. The requirement that the services for which reimbursement
was sought be medically necessary was a material term of each
contract.

61. The Defendants breached, or caused to be breached, the
contract term that make payment contingent upon the medical
necessity of service provided, and adherence to Medicare
regulations.

62. The United States has been damaged in an amount to be
determined at trial by reason of the breach of these contracts.

PRAYER FOR RELIEF

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WHEREFORE, Plaintiff Michael Todd Highfill prays for the
following relief:

1. On Counts I, II, and III, judgment for the United States
against each of the Defendants, jointly and severally, in an amount
equal to three times the damages the United States Government has
sustained because of the Defendants' actions, plus a civil penalty
of $10,000 for each violation of 31 U.S.C. § 3729;

2. On Counts V (Common Law Fraud), VI (Unjust Enrichment), VII
(Payment Under Mistake of Fact), and VIII (Breach of Contract), in
an amount to be determined at trial. The United States also
requests that Defendants be assessed prejudgment interest on all
common law claims from the date of the first false claim.

3. On Counts I, II, and III, an award to the Relator of the
maximum allowed under 31 U.S.C. § 3730(d);

4. On Count IV, judgment for Plaintiff Michael Todd Highfill,
individually, against Defendants Keller Medical Service, Inc., Mark
Keller, individually and doing business as Keller Medical Service,
Inc., and Clarence Woodard, individually and doing business as
Keller Medical Service, Inc., in an amount equal to two times the
amount of back pay, interest on the back pay, plus special damages.

5. Against all Defendants, attorneys' fees, expenses, and
costs of suit herein incurred; and

6. Such other and further relief as the Court deems just and

proper.

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DEMAND FOR JURY TRIAL

 

Plaintiff hereby demands that this matter be tried before a

jury.
Respectfully submitted,

PAULA J. CASEY
United States Attorney

i A

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Assisfvant U.S. Attorney
P.O. Box 1229
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Bar No. 74022
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Certificate of Service

 

I hereby certify that a copy of the foregoing has been mailed
to the following on this 8% day of August, 2000:

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